     Case 2:09-cr-00466-KJD-LRL          Document 73       Filed 01/21/11      Page 1 of 3



 1    MICHAEL P. KIMBRELL, ESQ.
      Nevada State Bar # 07776
 2    MICHAEL P. KIMBRELL, LTD
      3470 EAST RUSSELL ROAD, Ste. 250
 3    Las Vegas, Nevada 89120
      (702) 471-7001
 4    (Fax) 446-0493
      Attorney for LUIS MIGUEL SAGRERO-ALBA
 5
 6                                  UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
 8                                                   ***
 9
10     UNITED STATES OF AMERICA,                         2:09-CR-00466-PMP-LRL

11                    Plaintiff,                         MOTION TO EXTEND TIME
                                                         REGARDING DISPOSITIVE MATTER
12     vs.
       RICARDO SANTACRUZ-BECERILL,
13     MANUEL GUDINO-SIERRA,
       LUIS MIGUEL SAGRERO- ALBA, and
14     HECTOR GONZALEZ-ALBA

15                    Defendant.

16           CERTIFICATION: THIS MOTION IS TIMELY FILED.

17           COMES NOW the defendant, LUIS MIGUEL SAGRERO-ALBA by and through his

18    counsel, MICHAEL P. KIMBRELL, ESQ., and hereby moves this Honorable Court for an order

19    allowing an extension of time to file a Motion to Suppress Evidence based on counsel’s appointment

20    after initial counsel was appointed July 9, 2010 and Ripe Motion deadline was July 1, 2010 for

21    defendant Sagrero-Alba. Due to the expiration of said Motion deadline before present counsel was

22    appointed Defendant and his counsel has been drprived of equal time to file any motions necessitated

23    by withdraw of prior counsel. This motion is based upon the attached memorandum of points and

24    authorities, together with all relevant papers and pleadings on file herein, and any evidence and

25    argument presented at the hearing.

26           DATED this 19th day of January, 2011.

27                                                         Respectfully submitted,

28                                                         /s/ Michael P. Kimbrell
     Case 2:09-cr-00466-KJD-LRL          Document 73          Filed 01/21/11     Page 2 of 3



 1                                                          MICHAEL P. KIMBRELL, ESQ.
                                                            Counsel for Defendant
 2
                             MEMORANDUM OF POINTS AND AUTHORITIES
 3
                                                     I. FACTS
 4
             Current counsel was assigned as new counsel July 9, 2010 after prior counsel Motion to
 5
      withdraw was granted July 8, 2010. The motion ripe deadline expired for Defendant LUIS MIGUEL
 6
      SAGRERO-ALBA JULY 1, 2010. Current counsel required time to become familiar with the case
 7
      and explored possibility of gaining a new offer for pleading guilty. However, after much time, client
 8
      rejected any plea offer and preparation for trial began.
 9
             Current counsel gained a stipulation to extend the calendar call and trial dates based on his
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      late appointment. Presently counsel has prepared a motion to suppress statements Defendant
11
      Sagrero-Alba is alleged to have made during the arrest. Current counsel discussed plan to seek such
12
      an exemption from the expired motion deadline.
13
14    .
                                               II. ARGUMENT
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             Fundamental fairness and Sagrero-Alba’s Sixth Amendment right to effective legal
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      representation merit a granting of exemption from the expired deadline to file motions.
17
18
             Further, defendant is anxious to have vigorous representation and does not oppose the time
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      necessitated to file and argue said motion. It is anticipated that the time required to allow the
20
      government to reply and a final reply by Defendant should not interfere with the current calendar call
21
      and trial dates of March 9 and 15, 2011 respectively.
22
23                                            III. CONCLUSION
24    Based on the above argument, Mr. Sagrero-Alba requests this court enter an order granting an
25    exemption to the expired motion deadline allowing for filing of Motion to suppress the testimonial
26    evidence documented in the written arrest reports gained by an involuntary waiver of Mr. Sagrero-
27    Alba’s Miranda rights.
28
     Case 2:09-cr-00466-KJD-LRL      Document 73        Filed 01/21/11   Page 3 of 3



 1          DATED this 19th day of January, 2011.
 2                                                                       /S/
                                                              MICHAEL P. KIMBRELL, ESQ.
 3                                                            NV Bar No. 007776
                                                              3470 EAST RUSSELL RD., SUITE
 4                                                            250
                                                              LAS VEGAS, NV 89120
 5                                                             (702) 471-7001
                                                               (702) 446-0493 FAX
 6                                                            Attorney for Defendant
                                                               LUIS MIGUEL SAGRERO-ALBA
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